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s ALE D United States District Court                                 for the
                                                                District of Utah
                                                                                                                      FILED
                                                                                                               2022 JUL 19 PM 2:32
                                                                                                                     CLERK
                                                                                                               U.S. DISTRICT COURT
                  UNITED STATES OF AMERICA

                                V.                                                      Case No: 2: 2 1-cr-00 140-00 I JNP

                             SEALED


                                                       ARREST WARRANT
To:       The United States Marshal
                                                                                                                           IUGl~~AL
          and any authorized law enforcement officer



YOU ARE HEREBY COMMAN DED to arrest and bring before a United States magistrate judge without unnecessary delay (name of person
to be arrested)     SEZGIN BARAN KORKMAZ
who is accused of an offense or violation based on the following document fi led with the court :

I]] Indictment         D Superseding Indictment     D Information D Superseding Information
                       D Complaint D Order of court D Violation Notice D Probation Violation Petition
                       D    Supervised Release Violation Petition
This offense is briefly described as follows:
MONEY LAUNDERING - FEDERAL STATUTES, OTHER (Conspiracy to Commit Money Laundering
Offenses) and Notice of Intent to Seek Forfeiture
FRAUD BY WIRE, RADIO, OR TELEVISION (Wire Fraud)
TAMPERING WITH A WITNESS, VICTIM, OR AN INFORMANT (Obstruction of an Official
Proceeding)

in violation of     18 U.S.C. 1956(h), 18 U.S.C. 982(a)(I), 18 U.S.C. 1343 and 18 U.S.C. 1512(c)(2)                            United States Code.

D. Mark Jones                                                        Clerk of Court
                                                                    Title of Issuing Officer

                                                                    April 29, 2021 at Salt Lake City, Utah
                                                                    Date and Location

By:       Jenni fer Jensen
          Generalist Clerk


Bail fixed _ _ _ _ _ _ _ _ _ __ __ _ __ _ by _ _ __ __ _ _ _ _ _ _ _ _ _ _ __ __ _ _ _ __
                                                                                                    Name of Judicial Officer

                                                                    RETURN

tThis warrant was received and executed wi th the arrest of the above-named defendant at       Vlut ...   c1    f0s /,r,~

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 DATE RECEIVED               NAME AND TITLE OF ARRESTING             SIGNAT URE OF ARRESTING OFF!
                             OFFICER




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                                                    United States District Court
                                                                                      for the
                                                                                District of Uta h
                  UNITED STATES OF AMERICA

                                      V.                                                            SEALED Case No: 2:21-CR-00140 TC

                   Sezgin Baran Korkmaz


                                                                   ARREST WARRANT
To:       The United State Marsha l
          and any authorized law enforcement officer



YOU ARE HEREBY COMMANDED to arres t and bring before a United States magistrate judge without unnecessary delay (name of person
to be an-ested)      SEZGIN BARAN KORKMAZ
who is accused of an offense or violat ion based on the fo llowing document filed with the court:

[R] Indictment            D Superseding Indictment       D In formation D Superseding In fo rmation
                          D Compl ai nt D Order of court D Violation Notice D Probation Violation Petition
                          D Supervised Release Violation Petition
This offense is briefly described as fo ll ows:
          Conspiracy to Commit Money Laundering Offenses; Obstruction of an Official Proceeding




in violation of      18:1956{h); 18:15l2(c)(2)                                                                                                            United States Code.
                                                                                     Clerk of Court
                                                                                    Title of Issuing Officer




By:       Aimee Trujillo
          Deputy Clerk


Bail fixed _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ by _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                                       Name of Judic ial Offi cer

                                                                                   RETURN

 his warrant was received and executed with the arrest of the above-named defendant at ----"L/c.. . !. /_-Ll;[
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DATE RECE IVED                  NAME AN D TITLE OF ARREST ING                       SIGNATURE Of- ARREST! 1G OFFI CER
                                OFf-lCER

                                        ])v£&V/
DATElOF A~REST

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